Case: 1:21-cv-03289 Document #: 88-1 Filed: 05/16/22 Page 1 of 13 PageID #:4328




                EXHIBIT A
07/12/2018                                                                      Fidget Cube Anxiety Stress Relief Focus Gift toys Adults Kids Attention Therapy 6908923144204 | eBay
                              Case:
                              Case: 1:21-cv-03289
         Hi! Sign in or register
                                    1:21-cv-03289 Document
                                    Daily Deals
                                                  Document #:
                                                           #: 88-1
                                                    Gift Cards
                                                              9 Filed:
                                                                   Filed:
                                                                       06/18/21
                                                                          05/16/22
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                                                                    Help & Contact
                                                                                   Page
                                                                                     2672 of
                                                                                          of 500
                                                                                             13 PageID
                                                                                                 PageID#:4329
                                                                                                        #:667                                                                                                 Sell      My eBay


                                   Shop by
                                   category          Search for anything                                                                                                                All Categories                           Search           Advanced



                Back to search results | Listed in category:     Toys & Hobbies > Puzzles > Contemporary Puzzles > Brain Teasers & Cube/Twist >
                                                                                                                                                                                                                                         | Add to watch list
                                                                 See more Fidget Cube Anxiety Stress Relief Focus Gift A...




             People who viewed this item also viewed

                                   SPONSORED                                      Mini Magic Fidget                                   Black Fidget                                Fidget Cube                                    Fidget Cube
                                   New Fidget Cube                                Cube Anti-anxiety                                   Cube Anxiety                                Anxiety Stress                                 Anxiety Stress
                                   $3.99                                          $3.78                                               $4.88                                       $1.29                                          $4.95
                                   Free shipping                                  Free shipping                                       Free shipping                               + $2.99                                        Free shipping




             EXTRA 20% OFF 3+ ITEMS See all eligible items
                                                                           Fidget Cube Anxiety Stress Relief Focus Gift toys Adults Kids
                                                                           Attention Therapy                                                                                                       Shop with confidence

                                                                                                46 product ratings                                                                                       eBay Money Back Guarantee
                                                                                                                                                                                                         Get the item you ordered or get your
                                                                                       Condition:      New                                                                                               money back. Learn more

                                                                                         Quantity:      1                     4 available


                                                                                        List price: $15.00                                                                                     Seller information
                                                                                                                                                                                               amazing5c (4342            )
                                                                                        You save: $9.20 (61% off)                                                                              98.3% Positive feedback


                                                                                               Now:    US $5.80                                 Buy It Now                                          Save this Seller
                                                                                                                                                                                               Contact seller
                                                                                                                                                Add to cart
                                                                                                                                                                                               Visit store
                                                                                                                                                Add to watch list                              See other items


                                                                                     Free shipping                           30-day returns                         61% savings



                                                                                        Shipping:      FREE ePacket delivery from China | See details
                                                                                                       See details about international shipping here.
                                                                                                       Item location: Guangzhou, China
                      Have one to sell?        Sell now
                                                                                                       Ships to: Worldwide See exclusions

                                                                                         Delivery:           Estimated between Sat. Dec. 15 and Mon. Jan. 7
                                                                                                             Please note the delivery estimate is greater than 7 business days.

                                                                                       Payments:



                                                                                                       Special financing available. Apply Now | See terms

                                                                                         Returns: 30 day returns. Buyer pays for return shipping | See details




             Frequently Bought Together 1/2                                                                                                                                                                                   Feedback on our suggestions




              SPONSORED                            SPONSORED                                   Camouflage FORSET                         Magic Fidget Cube Anxiety           Black Fidget Cube Anxiety           6Pcs/Lot Tri Spinner Fidget
              Fidget Pen Finger Hand               Black Fidget Cube Anxiety                   Fidget Cube Anxiety Relie…                Stress Relief Focus 6-side…         Stress Relief Focus Gift A…         Finger Spin Stress Hand…
              Spinner Metal Roller Ball…           Stress Relief Focus Gift A…
                                                                                               $5.88                                     $2.99                               $10.99                              $15.99
              $3.98                                $2.95                                       Free shipping                             Free shipping                       Free shipping                       Free shipping
              Free shipping                        + $3.95




             Description           Shipping and payments                                                                                                                                                                                     Report item



                                                                                                                                                                                                                     eBay item number:    263588995470

               Seller assumes all responsibility for this listing.
               Last updated on Nov 29, 2018 19:34:19 PST View all revisions

                   Item specifics
                   Condition:                                  New: A brand-new, unused, unopened, undamaged item (including                              Brand:      Unbranded
                                                               handmade items). See the seller's listing for full details.
                                                               See all condition definitions

                   Country/Region of Manufacture:              China                                                                                      MPN:        Does not apply

https://www.ebay.com/itm/Fidget-Cube-Anxiety-Stress-Relief-Focus-Gift-toys-Adults-Kids-Attention-Therapy/263588995470                                                                                                                                          1/3
07/12/2018                                                         Fidget Cube Anxiety Stress Relief Focus Gift toys Adults Kids Attention Therapy 6908923144204 | eBay
                 UPC:     Case:
                          Case: 1:21-cv-03289
                                1:21-cv-03289
                                     Does not apply Document
                                                    Document #:
                                                             #: 88-1
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                                                                                            of 500
                                                                                               13 PageID
                                                                                                   PageID#:4330
                                                                                                          #:668
              Please leave a note/mail for the color you want or we will send Randomly

              Description:

              Some people can not keep their fingers still. There are always something in their hands, such as pens and coins. With this six-side fidget
              cube, you could have multi choices to keep your fingers busy.

              Features:

              Provides a tangible way to capture your floating attention
              Designed to help you focus, fidget at work, in class and at home in style
              Perfect item to release stress, anxiety and boredom

              Material: ABS
              6 Modes: Click/Glide/Flip/Breathe/Roll/Spin
              Color: Gray+Black/Black+Red/Black+Green/White+Black/White+Blue/White+Rose(please tell us the color you want after you pay,or we will
              send a random,thanks!)


              Package Includes:
              1 x fidget toy




                                                                                                        Powered by SoldEazy




              Ratings and Reviews                                                                                                                                                                 Write a review




                     4.0
                                                      5                                   26
                                                      4                                   6
                                                                                                                        67%                 85%                       66%
                                                      3                                   7
                                                      2                                   4
                                                      1                                   3                    Would recommend           Good value                Good quality
                    46 product ratings




              Most relevant reviews                                                                                                                                                            See all 32 reviews


                                                  This toy does nothing very well
                by georgef5886
                                                  toy has two working parts -- a little yellow rocker switch and one button that one can press and release. Instead of relieving my stress the toy added to
                May 06, 2017
                                                  it. Trie figure out what I was missing and finally realized I was missing the money I paid. Attractive looking but does do its job. Not recommended
                                                  Verified purchase: Yes | Condition: New | Sold by: funtoycrew


                                                      (2)        (0)




                                                  Fidgeters
                by s.ccst.nmuyjc5h
                                                  Honestly the concept is valuable for fidgeters, however, I would consider this item as a toy at best. It's not smooth operating at all. A person that fidgets,
                May 20, 2017
                                                  wants instant gratification, and this item is not even close to the mark.
                                                  Verified purchase: Yes | Condition: New | Sold by: funtoycrew


                                                      (0)        (0)




                                                  Amazing
                by daniela_knowles
                                                  Ordered this product three days ago and it came in already! Durable product and love the suprise with the colour!
                Jan 26, 2017
                                                  Verified purchase: Yes | Condition: New | Sold by: chachashop2


                                                      (0)        (0)




https://www.ebay.com/itm/Fidget-Cube-Anxiety-Stress-Relief-Focus-Gift-toys-Adults-Kids-Attention-Therapy/263588995470                                                                                               2/3
07/12/2018                                                                      Fidget Cube Anxiety Stress Relief Focus Gift toys Adults Kids Attention Therapy 6908923144204 | eBay
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                                                                                                        #:669
                                                           Good work nice thing
                 by naveejawe-0
                                                           Finally i received my parcel its good as mentioned in the pic and said in the desription
                 Mar 19, 2018
                                                           But deliver in a month it takes too much time too deliver but the thing is same as mentioned i really loved it
                                                           Thanks




                                                           Verified purchase: Yes | Condition: New | Sold by: ranruidianzi


                                                                (0)        (0)




                                                           As described
                 by beebabe25-9
                                                           Shipped quick for Hong Kong! My kids love these things lol
                 Dec 08, 2017
                                                           Verified purchase: Yes | Condition: New | Sold by: heyixing01


                                                                (0)        (0)




             People were also interested in




              6Sides Fidget Cube Anxiety            Magic Fidget Puzzle Cube              Camouflage FORSET                       1PC Fidget Cube Desk                 Fun Fidget Cube Desk Toy 6     Fidget Cube Pressure Relief
              Stress Relief Focus Gift A…           Anti-anxiety Adults Stress…           Fidget Cube Anxiety Relie…              Stress Anxiety Relief Focu…          Sided Adults Children Stre…    Helper Anti Stress Rubik's…
              $3.77                                 $5.66                                 $5.88                                   $3.78                                $3.78                          $4.48
              Free                                  Free                                  Free                                    Free                                 Free                           + $0.30




             People who viewed this item also viewed 1/2                                                                                                                                                    Feedback on our suggestions




              Mini Magic Fidget Cube                Fidget Cube Anxiety Stress            Black Fidget Cube Anxiety               Fidget Cube Anxiety Stress           New Fidget Cube Anxiety        Mini Magic Fidget Cube
              Anti-anxiety Adults Focus…            Relief Focus Attention Th…            Stress Relief Focus Gift A…             Relief Focus Gift Adults Ki…         Stress Relief Focus Gift At…   Anti-anxiety Adults Focus…
              $3.78                                 $1.29                                 $4.88                                   $4.95                                $3.99                          $3.78
              Free shipping                         + $2.99                               Free shipping                           Free shipping                        Free shipping                  Free shipping
                                                                                                                                                                       Popular




         Back to search results | See More Details about "Fidget Cube Anxiety Stress Relief Focus Gift Adults Ki..."                                                                                                        Return to top
         More to explore : fidget toys, stress relief eucalyptus spearmint, Stress Relief Dog Vitamins & Supplements, aromatherapy stress relief, bath and body stress relief, Stress Relief Cat Supplies,
         Stress Relief Adult Dog Vitamins & Supplements, Fidget In other Sensory Toys, Fidget Toys In other Sensory Toys, Stress Relief Vetoquinol Adult Dog Vitamins & Supplements




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https://www.ebay.com/itm/Fidget-Cube-Anxiety-Stress-Relief-Focus-Gift-toys-Adults-Kids-Attention-Therapy/263588995470                                                                                                                       3/3
07/12/2018                                                                         Fidget Cube Anxiety Stress Relief Focus Gift toys Adults Kids Attention Therapy 6908923144204 | eBay
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         Hi! Sign in or register
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                                                       Gift Cards
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                                                                                                        #:670                                                                                                   Sell    My eBay


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                Back to search results | Listed in category:        Toys & Hobbies > Puzzles > Contemporary Puzzles > Brain Teasers & Cube/Twist >
                                                                                                                                                                                                                                      | Add to watch list
                                                                    See more Fidget Cube Anxiety Stress Relief Focus Gift A...




             People who viewed this item also viewed

                                       SPONSORED                                     Mini Magic Fidget                                 Black Fidget                                 Fidget Cube                                 Fidget Cube
                                       New Fidget Cube                               Cube Anti-anxiety                                 Cube Anxiety                                 Anxiety Stress                              Anxiety Stress
                                       $3.99                                         $3.78                                             $4.88                                        $1.29                                       $4.95
                                       Free shipping                                 Free shipping                                     Free shipping                                + $2.99                                     Free shipping




             EXTRA 20% OFF 3+ ITEMS See all eligible items
                                                                              Fidget Cube Anxiety Stress Relief Focus Gift toys Adults Kids
                                                                              Attention Therapy                                                                                                      Shop with confidence

                                                                                                 46 product ratings                                                                                        eBay Money Back Guarantee
                                                                                                                                                                                                           Get the item you ordered or get your
                                                                                         Condition:     New                                                                                                money back. Learn more

                                                                                            Quantity:    1                     4 available


                                                                                          List price: $15.00                                                                                     Seller information
                                                                                                                                                                                                 amazing5c (4342         )
                                                                                          You save: $9.20 (61% off)                                                                              98.3% Positive feedback


                                                                                               Now:     US $5.80                                 Buy It Now                                           Save this Seller
                                                                                                                                                                                                 Contact seller
                                                                                                                                                 Add to cart
                                                                                                                                                                                                 Visit store
                                                                                                                                                 Add to watch list                               See other items


                                                                                       Free shipping                          30-day returns                         61% savings



                                                                                          Shipping:     FREE ePacket delivery from China | See details
                                                                                                        See details about international shipping here.
                                                                                                        Item location: Guangzhou, China
                      Have one to sell?            Sell now
                                                                                                        Ships to: Worldwide See exclusions

                                                                                            Delivery:         Estimated between Sat. Dec. 15 and Mon. Jan. 7
                                                                                                              Please note the delivery estimate is greater than 7 business days.

                                                                                         Payments:



                                                                                                        Special financing available. Apply Now | See terms

                                                                                            Returns: 30 day returns. Buyer pays for return shipping | See details




             Frequently Bought Together 1/2                                                                                                                                                                                  Feedback on our suggestions




              SPONSORED                                SPONSORED                               Camouflage FORSET                          Magic Fidget Cube Anxiety           Black Fidget Cube Anxiety            6Pcs/Lot Tri Spinner Fidget
              Fidget Pen Finger Hand                   Black Fidget Cube Anxiety               Fidget Cube Anxiety Relie…                 Stress Relief Focus 6-side…         Stress Relief Focus Gift A…          Finger Spin Stress Hand…
              Spinner Metal Roller Ball…               Stress Relief Focus Gift A…
                                                                                               $5.88                                      $2.99                               $10.99                               $15.99
              $3.98                                    $2.95                                   Free shipping                              Free shipping                       Free shipping                        Free shipping
              Free shipping                            + $3.95




             Description               Shipping and payments                                                                                                                                                                               Report item



               Seller assumes all responsibility for this listing.

                    Shipping and handling
                    Item location: Guangzhou, China
                    Shipping to: Worldwide
                    Excludes: Bosnia and Herzegovina, Finland, Gibraltar, Montenegro, Sweden, Switzerland, Guatemala, Hong Kong, Taiwan, Argentina

                    Quantity:      1                   Change country:      United States                                                      ZIP Code:    60004                  Get Rates


https://www.ebay.com/itm/Fidget-Cube-Anxiety-Stress-Relief-Focus-Gift-toys-Adults-Kids-Attention-Therapy/263588995470                                                                                                                                        1/3
07/12/2018                                                                        Fidget Cube Anxiety Stress Relief Focus Gift toys Adults Kids Attention Therapy 6908923144204 | eBay
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                                                                                           13 PageID
                                                                                               PageID#:4333
                                                                                                      #:671                                                          Delivery*

                    Free shipping                     United States            ePacket delivery from China                                                           Estimated between Sat. Dec. 15 and Mon. Jan. 7

                    US $35.99                         United States            Expedited Shipping from China/Hong Kong/Taiwan to worldwide                           Estimated between Tue. Dec. 11 and Tue. Dec. 18
                      * Estimated delivery dates include seller's handling time, origin ZIP Code, destination ZIP Code and time of acceptance and will depend on shipping service selected and receipt of cleared payment. Delivery
                      times may vary, especially during peak periods.



                    Handling time

                    Will usually ship within 1 business day of receiving cleared payment.




                  Return policy
                     After receiving the item, contact seller within                              Refund will be given as                                              Return shipping

                     30 days                                                                      Money back or replacement (buyer's choice)                           Buyer pays for return shipping

                  Refer to eBay Return policy for more details. You are covered by the eBay Money Back Guarantee if you receive an item that is not as described in the listing.




                  Payment details
                    Payment method




                                                                                                 Special financing available
                                                                                                 Select PayPal Credit at checkout to have the option to
                                                                                                 pay over time.

                                                                                                 Qualifying purchases could enjoy No Interest if paid in full in
                                                                                                 6 months on purchases of $99 or more. Other offers may
                                                                                                 also be available.

                                                                                                 Interest will be charged to your account from the purchase
                                                                                                 date if the balance is not paid in full within 6 months.
                                                                                                 Minimum monthly payments are required. Subject to credit
                                                                                                 approval. See terms

                                                                                                 The PayPal Credit account is issued by Synchrony Bank.




              Ratings and Reviews                                                                                                                                                                                         Write a review




                     4.0
                                                                       5                                 26
                                                                       4                                 6
                                                                                                                                  67%                         85%                           66%
                                                                       3                                 7
                                                                       2                                 4
                                                                       1                                 3                   Would recommend               Good value                    Good quality
                    46 product ratings




              Most relevant reviews                                                                                                                                                                                    See all 32 reviews


                                                                 This toy does nothing very well
                by georgef5886
                                                                 toy has two working parts -- a little yellow rocker switch and one button that one can press and release. Instead of relieving my stress the toy added to
                May 06, 2017
                                                                 it. Trie figure out what I was missing and finally realized I was missing the money I paid. Attractive looking but does do its job. Not recommended
                                                                 Verified purchase: Yes | Condition: New | Sold by: funtoycrew


                                                                       (2)      (0)




                                                                 Fidgeters
                by s.ccst.nmuyjc5h
                                                                 Honestly the concept is valuable for fidgeters, however, I would consider this item as a toy at best. It's not smooth operating at all. A person that fidgets,
                May 20, 2017
                                                                 wants instant gratification, and this item is not even close to the mark.
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                                                                       (0)      (0)




                                                                 Amazing
                by daniela_knowles
                                                                 Ordered this product three days ago and it came in already! Durable product and love the suprise with the colour!
                Jan 26, 2017
                                                                 Verified purchase: Yes | Condition: New | Sold by: chachashop2


                                                                       (0)      (0)




https://www.ebay.com/itm/Fidget-Cube-Anxiety-Stress-Relief-Focus-Gift-toys-Adults-Kids-Attention-Therapy/263588995470                                                                                                                       2/3
12/7/2018                                                                                                     eBay Feedback Profile for amazing5c
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                                                       category           Search for anything                                                     All Categories                            Search          Advanced


                             Home > Community > Feedback forum > Feedback profile


                             Feedback profile
                                                                                                                                                                                         Member quick links

                                                         amazing5c ( 4342            )           Top Rated: Seller with highest buyer ratings                                            Contact member
                                                        Positive Feedback (last 12 months): 98.3%                                                                                        View items for sale
                                                        [How is Feedback percentage calculated?]
                                                                                                                                                                                         View seller's Store
                                                        Member since: Apr-07-16 in China
                                                                                                                                                                                         View ID history
                                                                                                                                                                                         View eBay My World




                               Recent Feedback ratings                                                    Detailed seller ratings        (last 12 months)
                                 (last 12 months)
                                                                                                                                                                 Number of
                                                                                                          Criteria                        Average rating
                                                       1 month        6 months     12 months                                                                      ratings

                                                                                                          Item as described                                        2076
                                    Positive               139            891            2537
                                                                                                          Communication                                            2084
                                    Neutral                   1            13              32
                                                                                                          Shipping time                                            2143
                                    Negative                  4            22              45             Shipping and handling charges                            2203



                                  Feedback as a seller         Search seller feedback           Feedback as a buyer       All Feedback           Feedback left for others

                             2,614 Feedback received (viewing 1-25)                                                                                                                       Revised Feedback: 18


                              Show: All | Positive (2537) | Neutral (32) | Negative (45) | Withdrawn (0)                                                                                Period: Past 12 months

                                     Feedback                                                                                               From                                        When

                                     Did not receive the order.                                                                             Buyer: 9***3 ( 102              )           During past month

                                     Inflatable Foot Rest Travel Air Pillow Cushion Office Home Leg Up Footrest Relax                       US $1.25                                    View Item
                                     (#263951258976)


                                     Did not receive the order.                                                                             Buyer: 9***3 ( 102              )           During past month

                                     --                                                                                                     --                                          Private


                                     It said adult size it was not. Did not fit.                                                            Buyer: i***0 ( 830          )               During past month

                                     --                                                                                                     --                                          Private


                                     this seller is a cheater. he does not send the second order and wants to buy 5+                        Buyer: o *** o (194                 )       During past month

                                     8x Sensor Car Parking LCD Display Backlight Reverse Radar Detector System Silver                       US $12.35                                   View Item
                                     (#263947865448)


                                     Very cheep tin -not what was expected!!very slow shipping 2weeks!!!                                    Buyer: h***m ( 50           )               During past 6 months

                                     4pcs Chrome Rocker Switch Cover For Harley Davidson Electra Glide FLHTCU'96-'13                        US $11.99                                   View Item
                                     (#263742068327)


                                     Bad quality, very weak plastic and the mirrors don't lock in right position,                           Buyer: 7***7 ( 249              )           During past 6 months

                                     2PCS Black Motorcycle Side Rear View Mirror For Harley-Davidson FXDL FLHR FLHTC                        US $10.99                                   View Item
                                     (#263002848532)


                                     Item slow to ship and have not received it yet                                                         Buyer: i***i ( 241      )                   During past 6 months

                                     --                                                                                                     --                                          Private


                                     seller sent me wrong item and refuse to send me label at no cost                                       Buyer: i***a ( 252          )               During past 6 months

                                     Stretch Chair Sofa Love Seat Covers 1 2 3 Seater Protector Couch Cover Slipcover                       US $20.89                                   View Item
                                     (#263771095127)


                                     One of the sides was detached didnt have any glue so it fell completly off                             Buyer: u***a ( 191              )           During past 6 months

                                     For Apple iPad Pro 12.9" 9.7" Super Slim Smart Magnetic Leather Stand Case Cover                       US $12.49                                   View Item
                                     (#263236522957)


                                     Incorrect listing then wants to argue about returning bad part. WARNING                                Buyer: t***m ( 141          )               During past 6 months

                                     Adjustable Rider Driver Backrest Pad For Harley Heritage Softail Fatboy 97-2017                        US $69.99                                   View Item
                                     (#263602267572)


                                     only time ever neg. exp.                                                                               Buyer: c***e ( 143          )               During past 6 months

                                     --                                                                                                     --                                          Private


                                     Horrible seller. Super slow delivery almost snail like. Damaged. Didn't refund                         Buyer: 6***d ( 592              )           During past 6 months

                                     lot Leather Slim Smart Cover Protector Hard Case For iPad 2 3 4 5 Air Mini Pro                         US $10.77                                   View Item
                                     (#263236523884)

                                                                  Detailed item information is not available for the following items because the Feedback is over 90 days old.

                                     gas cap does not fit 2016 road glide. finally got 13 bucks back.                                       Buyer: h***s ( 181          )               During past 6 months

                                     Fuel Dash Console Lock Cover + Pop-Up Gas Cap For Harley Street Road Glide 08-17                       US $99.99
                                     (#263611142805)


                                     disappointed                                                                                           Buyer: d***l ( 442          )               During past 6 months

                                     For Apple iPad 2 3 4 mini air pro LOT Leather Smart Case Cover Slim Wake                               US $0.99
                                     (#263236522906)


                                     not as pictured                                                                                        Buyer: d***l ( 442          )               During past 6 months

                                     For Apple iPad 2 3 4 mini air pro LOT Leather Smart Case Cover Slim Wake                               US $0.99
                                     (#263236522906)


https://feedback.ebay.com/ws/eBayISAPI.dll?ViewFeedback2&userid=amazing5c&myworld=true&items=25&iid=-1&de=off&which=negative&interval=365                                                                              1/2
12/7/2018                                                                                                                              amazing5c on eBay
                              Case:
                              Case: 1:21-cv-03289
         Hi! Sign in or register
                                    1:21-cv-03289 Document
                                     Daily Deals
                                                  Document #:
                                                           #: 88-1
                                                              9 Filed:
                                                        Gift Cards
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                                                                                                 PageID#:4335
                                                                                                        #:673                                                                                                        Sell    My eBay


                                    Shop by
                                    category             Search for anything                                                                                                                  All Categories                          Search       Advanced



        amazing5c's profile



                                                                       amazing5c (4342 )                                                                                        Items for sale         Visit store          Contact
                                                                       98.3% positive feedback

                                                                                                                      My account is new, but the service、product and price I offer you are competitive and
                                                                           Save
                                                                                                                      attractive!!!




                                      Feedback ratings                                                                                                                                                           See all feedback

                                                           2,076       Item as described                       2,537              32              45                           great item
                                                                                                                                                                               Dec 06, 2018
                                                           2,084       Communication                       Positive         Neutral           Negative
                                                           2,143       Shipping time

                                                           2,203       Shipping charges                          Feedback from the last 12 months



                                   70 Followers | 0 Reviews | 11,252 Views | Member since: Apr 07, 2016 |                 China



        Items for sale(6136)                                                                                                                                                                                                                   See all items




            Coke Can Mini R...                                6Pcs 12" EMOJI ...                                5PCS 16mm Dice ...                                5 PCS/ Set Dice...                                 Disney The Nigh...
            US $9.99                          7d left         US $8.39                           9d left        US $12.29                           9d left       US $12.29                          22d left        See details                    23d left




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     Phone Tablet Case                            1-48 of 1,134 Results
     LED Strips
                                                                            Stretch Chair Sofa Love Seat Covers 1 2 3 Seater Protector Couch Cover Slipcover
     Motorcycle Part

     Car Light                                                              $5.69 to $26.55
                                                                            Was: $39.99
     For Amazon Kindle
                                                                            Free shipping
     Toy

     Computers/Tablets &
     Networking                                                             Universal Car Audio Tape Cassette To Jack AUX For IPod CD MD iPhone 3.5mm US
                                                                            Simply connect the cable into your player's headphone jack, pop the cassette adaptor into your car's cassette player and all of
     Home & Garden
                                                                            your music is now playing through car's audio system. Enjoy your music and share with the whole car for the entire trip.
     Health & Beauty
                                                                            $5.59
     Other Fashion Accessories
                                                                            Free shipping
     Car Consumer Electronics                                               or Best Offer
     eBay Motors                                                            384 sold

     Sporting Goods
                                                                            US Shockproof Robot Tablet Case Cover for Samsung Galaxy Tab 3/E Lite 7" SM-T113
     Business & Industrial

     Other                                                                  $9.49 to $10.12
                                                                            Was: $10.65
                                                                            Free shipping
                                                                            141 sold


                                                                            4x Charger Batteries Battery Station For Nintendo Wii Remote Control Recharge
                                                                            Compatible with: For Nintendo Wii. LED light glow from the base of the dock station to show the batteries charging status. Dock
                                                                            both of your remote and plug it into any USB port. No need to remove the battery!

                                                                            $13.69
                                                                            Free shipping
                                                                            or Best Offer
                                                                            19 watching


                                                                            For Wii Remote Controller White Charger Station with LED & 4X Battery Pack
                                                                            LED light glow from the base of the dock station to show the batteries charging status. Never run out of battery power when you
                                                                            are about to score the winning point with this 4 charging station for Nintendo Wii.

                                                                            $13.99
                                                                            Was: $22.93
                                                                            Free shipping
                                                                            or Best Offer
                                                                            43 sold


                                                                            US ship Shockproof Robot Back Case Cover for Samsung Galaxy Tab 3/E Lite 7" inch

                                                                            $9.99 to $10.65
                                                                            Free shipping
                                                                            40 sold



                                                                            Winter Elastic Slipcover Solid Thick Plush Sectional Sofa Couch Covers Protector

                                                                            $22.29 to $40.99
                                                                            Free shipping




                                                                            Shockproof Case for Apple iPad 2 3 4 5 6 Air Mini Heavy Duty Cover W/ Hard Stand

                                                                            $3.99 to $13.08
                                                                            Was: $10 34
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                                                  Free shipping



                                                  Printing Printed 1/2/3/4 Seater Sofa Covers Home Protector Decor Couch Slipcover

                                                  $6.51 to $26.55
                                                  Was: $49.19
                                                  Free shipping



                                                  12-20" Universal Kids Bicycle Stabiliser Children Training Bike Wheels LED Light

                                                  $13.25 to $14.45
                                                  Was: $29.99
                                                  Free shipping



                                                  US stock Lot 6/12X 3W/7W/12W LED Downlight Ceiling Recessed Light Bulb Home Lamp

                                                  $19.59 to $56.99
                                                  Free shipping
                                                  6 watching



                                                  Smart Cover for Apple iPad Air/iPad Air 2 Magnetic Leather Cover & Hard Case lot

                                                  $2.89 to $12.68                                                                                                           From China
                                                  Free shipping
                                                  3 watching



                                                  Kid Miraculous Ladybug Cosplay Costume+Mask+Bag Jumpsuit Tight Party Fancy Dress

                                                  $14.25
                                                  Was: $39.99
                                                  Free shipping



                                                  Frame Hanger Easy Wall Hanging Tool Hang & Level Makes Picture Hanging Easy Hang

                                                  $7.25 to $47.99
                                                  Was: $10.99
                                                  Free shipping
                                                  55 sold


                                                  Soft Microfibre Shaggy Anti Slip Absorbent Bath Mat Bathroom Shower Rugs Carpet

                                                  $5.69 to $8.54
                                                  Was: $19.99
                                                  Free shipping



                                                  9V Garage Safe-Light Auto Parking System Assist Distance Stop-Aid Guide Sensor
                                                  The Striker Adjustable Garage Parking Sensor is designed to take the guess work out of parking your car in tight garage spaces.
                                                  Simply mount the sensor unit in front of the car at bumper level. Then mount the signal light in a position easily viewed from the…

                                                  $23.85
                                                  Was: $69.99
                                                  Free shipping
                                                  or Best Offer


                                                  Underwater Submersible Aquarium Fish Tank Light Color Changing LED+ RC Remote US

                                                  $4.25 to $25.99
                                                  Free shipping




                                                  Heavy Duty Shockproof Tough Hard Case Cover For APPLE iPad 4 3 2 Air&Mini lot

                                                  $0.99 to $15.99                                                                                                           From China
                                                  Free shipping




                                                  Queen King Double Microfiber Flannel Blanket Throw Bed Home Soft Warm Cozy Plush

                                                  $8.25 to $22.25
                                                  Was: $59.99
                                                  Free shipping



                                                  Hybrid Heavy Duty Rubber Shockproof Hard Case Cover For iPad 2 3 4 Air Mini lot

                                                  $8.70 to $15.99                                                                                                           From China
                                                  Free shipping
                                                  10 sold



                                                  Stretch Elastic Round Bar Stool Cover Fabric Chair Furniture Seat Replacement

                                                  $6.35
                                                  Free shipping




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                                         lot Hybrid Shockproof Heavy Duty Rubber Protector Case Cover for iPad Mini Air
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                                                  $7.16 to $15.99                                                                                                        From China
                                                  Free shipping




                                                  US Ship 6/12X 3W/7W/12W LED Downlight Ceiling Recessed Light Bult Lamp 110-220V

                                                  $19.59 to $56.99
                                                  Free shipping
                                                  17 sold



                                                  Aluminum Mountain Road MTB Bike Cycling Seatpost 27.2/ 31.6mm Seat Post Tube US

                                                  $12.99 to $13.59
                                                  Free shipping




                                                  Lot Colorful Kraft Paper Gift Bag Shop Loot W Handles Xmas Wedding Party Package
                                                  5.25"x3.25"x8"& 8"x4.75"x10" &10"x5"x13" 25/50/100PCS

                                                  $0.99 to $18.00
                                                  Free shipping



                                                  4X Battery Pack for Nintendo WII Remote Controller 4 Port Charging Dock Station
                                                  Black / White 4*2800mah Battery + Charger + Cable

                                                  $13.85
                                                  Free shipping



                                                  Silicone Bottle Brush Bottle Scrubbing Milk Nursing Feeding Bottle Cleaning Tool

                                                  $7.45
                                                  Was: $19.99
                                                  Free shipping



                                                  Stoppy Rubber Door Stop Jam Doorstops Wedge Window Stopper Block Floor Carpet US

                                                  $5.99
                                                  Was: $19.99
                                                  Free shipping



                                                  Charger Station + 4X Batteries Pack For Nintendo Wii Remote Control Black White

                                                  $14.15 to $16.16
                                                  Was: $19.13
                                                  Free shipping



                                                  4-40 X AA 4600mAh Rechargeable Battery 1.2V BTY Cell Ni-MH High Capacity Light

                                                  $7.95 to $77.99
                                                  Was: $15.99
                                                  Free shipping



                                                  18"-30" Anti Scratch Waterproof Dustproof Luggage Suitcase Protector Bag Cover

                                                  $7.59 to $12.19
                                                  Was: $15.99
                                                  Free shipping



                                                  1X Charger Docking Station + 4X Rechargeable Batteries For Nintendo WII Remote
                                                  LED light glow from the base of the dock station to show the batteries charging status. - Never run out of battery power when you
                                                  are about to score the winning point with this 4 charging station for Nintendo Wii.

                                                  $14.29
                                                  Was: $19.84
                                                  Free shipping
                                                  or Best Offer
                                                  45 sold


                                                  Safe Silicone Brush Bottle Cup Mug Glass Washing Cleaning Kitchen Cleaner Tool

                                                  $7.45
                                                  Was: $19.99
                                                  Free shipping



                                                  40/100X Twist Pins for Upholstery Sofa Couch Chair Slipcover Bedskirt Drapery

                                                  $5.31 to $7.21
                                                  Was: $9.99
                                                  Free shipping



                                                  US Heavy Duty Shockproof Tablet Back Case Cover For Apple iPad 234 Mini 123 Air

                                                  $8 63 to $11 24
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            Puzzles

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        Condition                           see all
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        $             to $


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        Lego Mindstorms NXT (8527)
        Lego The Lion CHI Temple (70010)
        Lego Star Wars AT-AT Walker (8129)


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                                                              Fidget Cube Anxiety Stress Relief Focus Gift toys Adults Kids
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                                                              $5.80
                                                              $15.00


                                                              Quantity     1


                                                              Delivery

                                                                   Est. delivery: Dec 15 – Jan 7
                                                                   ePacket delivery from China
                                                                   Free

                                                                   Est. delivery: Dec 11 – 18
                                                                   Expedited Shipping from China/Hong Kong/Taiwan to
                                                                   worldwide
                                                                   $35.99




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